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 5
     Attorneys for Defendant WASC Senior College    Attorneys for Plaintiff International
 6   and University Commission                      Technological University Foundation
 7
 8
                             UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10
   INTERNATIONAL TECHNOLOGICAL                     CASE NO. 5:22-cv-04576-BLF
11 UNIVERSITY FOUNDATION, a California
   corporation,                                    The Honorable Beth Labson Freeman
12
                Plaintiff,                         JOINT STIPULATION AND [PROPOSED]
13                                                 ORDER REGARDING BRIEFING
          vs.                                      SCHEDULE FOR MOTION TO DISMISS
14                                                 (DKT. 28) FILED BY DEFENDANT
                                                   WASC SENIOR COLLEGE AND
15 WASC SENIOR COLLEGE AND                         UNIVERSITY COMMISSION
   UNIVERSITY COMMISSION, a corporation,
16 SOFIA UNIVERSITY, SPC, a corporation,           Courtroom:    No. 3, 5th Floor
   GREG O’BRIEN, an individual, BARRY              Address:      U.S. Courthouse
17
   RYAN, an individual, and DOES 1-10,                           280 South 1st Street
18                                                               San Jose, CA 95113
                Defendants.
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                             STIPULATION AND [PROPOSED] ORDER
         Case 5:22-cv-04576-BLF Document 31 Filed 10/20/22 Page 2 of 4




 1                                             STIPULATION

 2          Plaintiff International Technological University Foundation (“ITU”), and Defendant WASC
 3 Senior College and University Commission (“WSCUC”), by and through its undersigned counsel,
 4
     hereby stipulate as follows:
 5
            WHEREAS, WSCUC filed its motion to dismiss the complaint (Dkt. 28) on October 14,
 6
     2022, with a noticed hearing date of March 16, 2023.
 7
 8          WHEREAS, ITU’s opposition is currently due October 28, 2022, and WSCUC’s reply is

 9 currently due November 4, 2022.
10          WHEREAS, Section IV.B. of the Court’s Standing Order re: Civil Cases states that “[t]he
11
     parties may stipulate to and request Court approval of a briefing schedule that differs from that set
12
     forth in the Court’s Civil Local Rules. Under no circumstances may the reply (or other final brief)
13
     be filed less than 14 days before the hearing.”
14
            WHEREAS, the parties have agreed to an amended briefing schedule whereby ITU’s
15
16 opposition is due December 16, 2022 and WSCUC’s reply is due January 31, 2023.
17          WHEREAS, the proposed reply deadline of January 31, 2023 is 44 days before the March
18 16, 2023 hearing date, which is well in excess of the 14-day minimum.
19
            WHEREAS, all parties to this lawsuit consent to the present stipulation.
20
            IT IS ACCORDINGLY HEREBY STIPULATED AND AGREED, by and between the
21
     undersigned counsel for ITU and WSCUC, subject to the Court’s approval, as follows:
22
23              1. ITU shall file its opposition to WSCUC’s motion to dismiss by December 16, 2022;

24              2. WSCUC shall file its reply by January 31, 2023; and

25              3. The previously scheduled hearing date of March 16, 2023 at 9:00 a.m. remains in
26                  effect and on calendar.
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                                 STIPULATION AND [PROPOSED] ORDER
        Case 5:22-cv-04576-BLF Document 31 Filed 10/20/22 Page 3 of 4




 1 DATED: October 20, 2022                        EVERSHEDS SUTHERLAND (US) LLP

 2
                                                  By /s/ Ian S. Shelton
 3
                                                    Ian S. Shelton
 4
                                                     Attorneys for Defendant WASC Senior College
 5                                                   and University Commission
 6
 7
     DATED: October 20, 2022                      STRONG & HANNI P.C.
 8
 9
                                                  By /s/ Joseph Shapiro
10                                                  Joseph Shapiro

11                                                   Attorneys for Plaintiff International
                                                     Technological University Foundation
12
13
                                     NDCA LR 5-1(h)(3) Declaration
14
15         I attest that all parties concur in the filing of this document.

16
     DATED: October 20, 2022                      EVERSHEDS SUTHERLAND (US) LLP
17
18
                                                  By /s/ Ian S. Shelton
19                                                  Ian S. Shelton

20                                                   Attorneys for Defendant WASC Senior College
                                                     and University Commission
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                                STIPULATION AND [PROPOSED] ORDER
        Case 5:22-cv-04576-BLF Document 31 Filed 10/20/22 Page 4 of 4




 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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     DATED: _______________, 2022
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 4
 5                                       Hon. Beth Labson Freeman
                                         United States District Court Judge
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                          STIPULATION AND [PROPOSED] ORDER
